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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE: FACEBOOK, INC., CONSUMER                     MDL No. 2843
 PRIVACY USER PROFILE LITIGATION                     Case No. 18-md-02843-VC


                                                     PRETRIAL ORDER NO. 12:
 This document relates to:                           PRIORITIZATION OF CLAIMS

 ALL ACTIONS                                         Re: Dkt. No. 156




         1. The proposal to recognize the Consolidated Complaint as the superseding complaint in

this case is granted. In addition, the Court will stay the non-prioritized claims – all those brought

by plaintiffs in the MDL that are not included in the twelve prioritized claims in the Consolidated

Complaint – pending resolution of the motion to dismiss. (See Dkt. No. 152-2, at 169-200,

¶¶ 449-618).

         2. As to the non-prioritized defendants who have been served and made an appearance in

the case – Mercer, Sandberg, and Zuckerberg – the plaintiffs must either dismiss any claims

against them without prejudice (presumably with an agreement to toll applicable statute of

limitations) or proceed with litigating their motions to dismiss. (Sandberg and Zuckerberg joined

Facebook’s motion to dismiss, (Dkt. No. 188), and Mercer filed a separate motion, (Dkt. No.

183).)

         3. The hearing scheduled for Thursday, November 15 will be converted to a telephonic

case management conference to discuss how to proceed with the remaining non-prioritized
defendants – Bannon and Kogan – who have apparently not yet been served. The parties must
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arrange to participate in the telephonic case management conference with Court Call by no later

than 1:00 p.m. on Tuesday, November 13. Any members of the press or interested parties must

do the same. (See https://cand.uscourts.gov/vc/fbmdl for more information). The telephonic

hearing will be open to the public in courtroom 4 on the 17th floor on November 15, 2018 at

10:00 a.m.



       IT IS SO ORDERED.

Dated: November 9, 2018
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge




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